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                                                FINAL INVESTIGATION REPORT1

         25, 2018, Complainant filed a complaint against Respondent under Indiana University's Sexual Misconduct
               stigation was conducted as outlined below.

                 ary of Allegations

               lleged that, on or around September 4, 2017, in a room 2 at the Sigma u fraternity house, Respondent
                 aviors towards Complainant that may constitute sexual exploitation, s   al harassment and/or sexual
assault. These alleged behaviors include Respondent digitally penetrating 3 Compla nt's vagina and penetrating
Complainant's vagina with his penis by force, without her consent, and/or while she was ncapacitated and allowing
another individual to photograph or take a video of Respondent engaging n sexual intercourse with Complainant
without her consent.

II.     History of Investigation

The Sexu                                                    nt Conduct ("OSC") acts as a neutral, fact gathering body
through                                                                                             ardosa ("Inv. Cardosa)
was assi                                                                                             ell ("Inv. McDowell") and
lnvestiga                                                                                            stigating this case.

                                                                                                         ncil ("IFC') President
reported the previous week tha                                                                           I intercourse at the Sigma
Nu fraternity house and the ph                                                                          lmaszczyk (''AD
Stelmaszczyk") and Associa te Di                                                                         about the reported
Incident. AD Stelmaszcyk nd A                                                                           and AD Mais learned the
name of Respondent, bu not                                                                                n September 29, 2017
and provided a verbal stat en                                                                           inant. During the meeting
Respondent identified Wit ess

Confidential Victim Advo ate Sa                                                                         lainant Information
meeting fo r Complainant to tak                                                                         VA Thomas met with Inv.
C rdosa an d nv.    Dowell                                                                              e Complainant
I formation Form, which a                                                                               easures, resources, and
retaliation. Complainant w                                                                              rocess. Inv. Cardosa also



the meeting, Complainant indicated that she wanted to move forward with an OSC investigation and asked for her
statement to IUPD to be used as her statement for the University process. On June 5, 2018, OSC received Complainant's
statement to IUPD.


1 The contents   of this document are confidential an                            ipient. An identic.al copy of this Report, with the
exception of the name identifier on the watermark,                              party. Any form of reproduction, dissemination,
modification, distribution, and/or publication of thi                          ted .
2
  In her statement, Complainant Identified the loca                            In the Sigma Nu fraternity house. During the course of
the investigation, it was determined that the sexua                             mat the fraternity house, but not in Responden t's
room.
1
  In his verbal statement to OSC, Respondent stated that d1gltal penetration occurred. This lnformatton was not mentioned In
Complainant's statement.
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On June 12, 2018, Complainant and CVA Thomas met with Inv. Cardosa and Inv. McDowell to answer follow up
             ing the meeting, Complainant identified Witness 3, Witness 5, Witness 7, Witness 8, and Witness 12.

               18, IUPD asked OSC if they could wait to notify Respondent of the University process until after IUPD has
                spondent. OSC complied with IUPD request. On June 1, 2018, IUPD informed OSC that they had spoken



Respondent was notified of the allegataons against him on June 6, 2018 and waS' nstructed to attend an investigation
meeting on June 8, 2018. On June 8, 2018, Inv. Cardosa and Inv. McDowell met wi Respondent and his father, serving
as Respondent's advisor. Respondent was provided with and signed e spond nt Information Form, which addresses
topics such as process, privacy, confidentiality, interim measures, r sources, amnesty, and retahataon. Respondent was
offered the opportunity to ask questions about the University's process. Inv. Cardosa also went over a flowchart with
Respondent outlining the University's process and Respondent was provided a copy of the procedures for Responding to
Incidents Involving Allegations of Student Sexual Misconduct. T      e documents are included in the file . During the
meeting,

Witness                                                                                          ntified Witness 14 and
15.

On Augu                                                                                          e County Prosecutor from
IUPD.

Ill.

Complainant

Statement to IUPD

                                                                                                 iated with Complainant' s
                                                                                                   mplamant stated that
                                                                                                  ch to drink.N Complainant
                                                                                                  was having trouble
                                                                                                  he reported incident, she
"'drank mor than she usua

Comp in nt stated that, at the                                                               head away. Complainant
stated that she and Respondent walked to Complainant's sorority house around 4:00pm, but Complainant does not
remember the walk to the house. Complainant stated that Respondent told her not to wear wet clothes so she changed
at her soronty house. Complainant stated that she remembered Respondent trymg to convince her to go to his
fraternity house. Complai nant stated that she and Respondent walked over to the Sigma Nu fraternity house, but she
does not remember the walk or what room she and Respondent went into. Complainant stated that she and
Respondent went to a room and ¥'instantly started having sex."

Complainant stated that she and Respondent                               d couches in it and she thought they were just
going to hang out, but Respondent started taki                           s clothes off. Complainant stated that she
thought to herself, r'okay I guess this is happen                         during it." Complainant stated that, after
Respondent removed her clothes, he was telli                             lainant stated that she didn' t say "yes," but she
didn't tell Respondent "no.', Complainant stat                            ng with what Respondent was asking, but didn' t
real ize the situation she was in. Complainant stated that she did not know what was going on. Complainant stated that,
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the next thing she remembers is Respondent "jamming It into me.N Complainant stated that the intercourse wasn't
worki ng~ so Respondent wa s physically moving her around to "get it to work.N


               tated that she and Respondent were not verbally communicating a lot during the sexual activity.
               escribed herself as being on her back on the couch with her legs spread. Complainant stated that
               as in between her legs and penetrated her vagina with his penis. Complainant stated that she didn't know
                ening and Respondent Nkind of just went right to it.'' Complainant $l ted that she felt pain in her groin
                that the sexual activity was happening. Complainant stated that her body was p nicking. Complainant
                 didn't say "no," but had she not been drunk she would have to Responden no." Complainant stated
that she was ..clenching up" and wanted the sexual activity to stop. Complain tit stated thcit Respondent asked her to
get on top of him, but she couldn't because it hurt so badly and she did 't wan to Ngo back to it. rt Complainant stated
that she thought Respondent told her to move over, face down so ;s peni        ould go in better, but it " wasn't working.''
Complainant stated that she doesn't remember if Respondent move her.

Complainant stated that, while she was face down, she want d to go to     ep. Complainant stated that she pretended to
be asleep so that Respondent would stop the sexual acti ity and, he believes, that is what made Respondent eventually
stop. Co                                                                                       ou watch television.
Complai                                                                                      wanted the sexual activity
to stop,                                                                                      like she was a "zombie.''
Complai                                                                                        nt stated that she was a
virgin an                                                                                      the sexual activity was
hard to remember due to her al                                                                   twas walking her home,
he asked her if she was okay se                                                                  he fucked up.'J
Complainant stated that she to l                                                                  r alone. Complainant
stated that 1t hurt her to wal k f

Complainant stated thats e d                                                                     o the room and took a
picture. Complai ant tated t a                                                                    spondent was laughing
and "throwing up" a peace sign.                                                                   napChat and a GroupMe.
Complainant sta ed that, when                                                                    she learned about the
picture that Witnes 13 took.




                                                                                                t there around l :OOpm.
Complainant stated that it seemed like she was at Sigma Phi Epsilon all day. Complainant stated that she walked to the
party at Sigma Phi Epsilon with her roommates and some of the ir friends. Complainant stated that, at the party, she was
being a Nsocial butterfly,'} walking around talking to people. Complainant stated that she knew many people at the party
and was saying hi to everyone. When asked to elaborate on her statemen t about falling into a pool, Complainant stated
that there was a bag infla table pool at the party, Complainant described the pool as being about 12 feet wide by 12 feet
long and about 3-4 feet deep. Complamant stated that .she fell in and around the pool. Complamant stated that it was
wet around the pool. Complainant stated that                              wet. When asked if her hair would have been
wet, Complainant stated that her head had no

When asked about her alcohol consumption o                            incident, Complainant stated that she had a
couple shots of hard alcohol at her sorority, Ka                     to Sigma Phi Epsilon. When asked if she
remembered what alcohol she was consuming a                    omp ainant stated that it might have been Taaka. When
asked how the alcohol was served at Sigma Phi Epsilon, Complainant stated that there was a bar were you could get
Np retty much whatever.N Complainant stated that, at Sigma Phi Epsilon, she had Four Loko. When asked how the Four
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Loko was served, C<Jmplainant stated that it was served in clear cups that are smaller than a red solo cup. When asked If
she knew how much Four Loko was In the cups, Complainant stated that it was definitely enough to be a full serving of a
              more. Complainant stated that she also drank some wine out of a bag. When asked about how much
             Complainant stated, Nmaybe five chugs.N Complainant stated that she may have also had some Taaka at
             Ion, but she got this from her friend, Witness 3, not the bar at Sigma Phi Epsilon. Complainant stated "It
              runk I'd ever been and probably will ever be." When asked about sober monitors, C<Jmplalnant stated
             e sober monitor at the party, but that they weren' t Kappa Delta sob r monitors since it wasn't Kappa
             event. Complainant clarified that she is a member of Kappa Delta.

Complainant stated that she doesn't remember exactly when she saw Respo ndent at th party, but she thinks she was
at the party for about 3 hours before seeing Respondent. Complainant ated t ha Respondent may have known some of
her friends . Complainant stated that Respondent kept coming up to her and t rying to kiss her, but she kept moving away
because she didn't want to "lead him on." When asked to elabom ~Complai na nt stated she would JUSt be standing
there and Res pondent would come up to her and kiss her for a few seconds before she moved her head away and
walked away. Complainant stated that, after she walked away om Respondent he would come up to her a few minutes


Complai                                                                                        r the place" at Sigma Phi
Epsilon.                                                                                       tand up." Complainant
stated th                                                                                       over. Complainant stated
                                                                                               nt stated that
Respondent could tell that she                                                                  ndent at Sigma Phi
Epsilon, Complainant stated tha

Complainant stated that Respo                                                                   at she thought this
meant hanging out with a grou                                                                  t she went to her
sorority, Kappa Delta, to t dry                                                                 se, which she thought
was weird. Compfai ntsta                                                                       a flight of stairs and then
walked into her room Compla'                                                                   got there. When asked 1f
she remembere d w ho wa s m he                                                                  and Witness 7 may have
been in t room . Complainant                                                                   , but she can't recall who
they were. Complainant stated                                                                   many other people in her
room alrea dy that she d1dn                                                                     ere soaking wet and
t erefore h rd to get off, s

Comp inant stated that she an                                                                 Respondent were holding
hands at any point, Complainant stated that they were not. When asked 1f she remembered how she and Respondent
walked to Sigma Nu, Complainant stated that she was ¥'blacking m and out" and didn't remember. Complainant stated
that she remembered Respondent asking her if she wanted to go to his apartment or to Sigma Nu and she chose Sigma
Nu. Complainant stated that she was close with a lot of people in the Sigma Nu fraternity. Complainant stated that when
she and Respondent got to the Sigma Nu fraternity house, she thought there would be more people in the room, but it
was only her and Respondent.

Complainant stated that when she and Respo                             spondent led her into a room. Complainant
stated that she knew it wasn't Respondent's r                           eat Sigma Nu. Complainant stated that it may
have been Witness 13's room . Complainant st                            nd Respondent got in the room, she sat down on
the couch. Complainant stated that, usually, w                         room, others people will go in with you to hang
out. Complainant stated that, when she and R                            om, Respondent started taking off his clothes
then started taking off her clothes. Complainant stated that there was no conversation between her and Respondent
before he started taking their clothes off. Complainant stated that Respondent did not ask her ¥'if she wanted to do
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this." Complainant stated that she didn't tell Respondent, "No" and was "kind of helping him remove my clothes."
Complainant stated that her shirt may have remained on. When asked to elaborate on how she may have helped
              move her clothes, Complainant stated that she doesn't remember.

                 tated that she did not have sex with anyone before, so she didn't know what was going on. When asked
                  ression of sexual activity, Complainant stated that there was .. zero kissing." When asked about contact
                  reas like her breast, Complainant stated that Respondent did not m ke contact with her breast. When
                    as any digital penetration, Complainant stated that there wasn't, bu she remembers Respondent trying
                   for about 2 seconds." When asked to clarify, Complainant confinned that Respondent made contact with
her genitals with his mouth and tongue. Complainant stated that Respondent penetrated er vagina with his penis.
Complainant stated she wasn't "wet," or " turned on.HComplainant elabo ated hat she wasn' t lubricated, and the
intercourse was "really painful." Complainant stated that everything wash ppeni g very quickly and that Respondent
was en a hurry, possibly because 1t wasn't his room. Complaina stated that sh didn't have time to think about what
was happening. Complainant stated that she was shocked t t everything was happening so quickly.

Complainant stated that ''it wasn 1 t working" so Respond n          er to move positions. When asked to elaborate,
Complai                                                                                       d that Respondent asked
her to ug                                                                                      ensed up because it was
hurting h                                                                                      t she was in when the
picture                                                                                       omplainant stated that,
wh ile int                                                                                     leep or pretending to be
asleep so that Respondent woul                                                                was trying to fall asleep,
and was actually was falling asle                                                              pondent realized that she
was more drunk than he origina                                                                plainant stated that
Respondent helped her put her                                                                   espondent walked her to
the back door of Kappa Delta, w                                                                hen she got back to
Kappa Delta, Respondent left.

Complainant stated sh e wa> "bl                                                                  t after changing her
clothes unti ~ h e ~eft Sf ma Nu a                                                               en she is blacked out,
other people can't realty t ell tha                                                              arts of that day, but not
all of it. Complainant stated tha                                                                more she talks about it
the more sh e reme mbers.                                                                       t she doesn't remember
walkmg bac to Kappa Del                                                                         nant stated that, at the
pa y, she i II over a bunch                                                                     t she didn't th ink she was
marcl much sense. Complainant stated that she had bruises all over her legs.

Complainant stated that, sometime after she left Sigma Nu, her friend texted her and told her not to worry because
Complainant's face couldn' t be seen in the picture. Complainant stated that she didn' t even know about a picture, and
thought to herself, ''What picture?" Complainant stated that she went in to her room and Witness 5 got someone to
send her the picture and then showed Complainant. Complainant stated that, later on, Respondent direct messaged her
on Group Me and asked if she was on birth control. Complainant stated that she replied that she was and Respondent
asked her if she was okay. Complainant stated                          alk to Respondent, so she just said that she was
fine. Complainant stated that she was trying t                          her alone. Complainant estimated that a week
later, Respondent texted her and let her know                           ed the picture and that Witness 13, the person
who took the picture, was going to write apol                          ndent and Complainant. Complainant stated that




"The picture Is Included in the file.
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Respondent asked for her email so Witness 13 could send her the letter. Complainant stated that Sigma Nu was then
removed from campus and she did not hear anything else about the apology letters.




               29, 2017 Respondent met with AO Mais and Inv. McDowell.

             ined that the purpose for today's meeting was to talk about a ~               as irculating of Respondent
and another person engaging in sexual activity. Respondent stated that he i.s aware of.the picture AD Mais was referring
too.

When asked if he consented to the picture being taken, Respon nt stated that he did not. When asked if he consented
to the picture being shared with others, Respondent stated th~t he wa n't upset about the picture being shared, but
that he wanted to make sure that the female, referring to Complainant, involved m the sexual act1v1ty was okay with the
picture being shared. Respondent stated that he spoke to Comp ainant and she was okay with the picture and wasn't


When as                                                                                          ndent stated that he was
and that                                                                                         omplainant, Respondent
                                                                                                 ndent stated that, while
                                                                                                  idn't know that Witness
                                                                                                 n, Respondent stated that
                                                                                                 red on a GroupMe chat.
                                                                                                  Respondent stated that
                                                                                                 that Witness 2 deleted
the picture from the GroupMe                                                                     at a member of the
Group Me chat t     a scree                                                                      en asked if the picture
was posted anywh r efse, R

When asked where th e picture                                                                     er an event at Sigma Phi
Epsilon. In reference to the eve                                                                 mplainant at the event,
but ere were not many p                                                                            lcohol at the Sigma Phi
Epsilon event, Respondent                                                                         .sn't drink. Respondent
stated that e doesn't drin                                                                        ture was taken in Sigma
Nu, R $?9ndent stated that the                                                                    thers that lived in that
suite. Respondent clarified that it was his friend's suite, but not Witness 13's. Respondent stated that in the "chill room"
he and Complainant were on the couch. When asked what sexual activity occurred, Respondent stated "sex" and
confirmed 1t was penile to vaginal penetration. Respondent stated that he would send AO Mais the text messages he
had with Complainant regarding the picture. Respondent stated that the text messages ljsted Complainant's first name,
but not her last name.

When asked if Witness 13 had been drinking                               . Respondent stated that he doesn't know, but
doesn't believe a sober person would do some

Statement to IUPO

On June 1, 2018, Respondent provided a .state                           report number associated w ith Respondent's
statement is 181327 and the statement is incl                     1    tement to the police, Respondent stated that he
went to the day party at the Sigma Phi Epsilon fraternity with some fnends. Respondent stated that he and his friends
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were all drinking. Respondent stated that the party Included two sororities and two fraternities. Respondent stated that
he had " approximately 5-6 beers over two hours." Respondent stated that he felt drunk, "like he was more confident.n

                ated that he was with some friends by the pool when Complainant approached him. Respondent stated
                en Complainant around his fraternity, but did not really know her. Respondent stated that he and
                tarted talki ng and were " bring flirtatious." Respondent stated that his friend, (Witness 6), was with him
                alking to Complainant. Respondent stating that Complainant was being "very forward" with hi m, Nvery
                ile they were by the pool. Respondent described Complainant's " sugg stivenes '' as Complainant
                oulder while they talked. Respondent denied trying to kiss Comp in ant, ex pt for when he was against
a wall and Complainant was kissing him. Respondent stated that Complainant •took                s-hand and led him through the
party to a more secluded spot" in the courtyard. Respondent stated tha ·n the more secluded area, Complainant put
him up against a wall and began to " make our" with him. Respondent stat tha Complainant leaned in first" to kiss
him. Respondent stated that Witness 4 saw Complainant leadin him (Respond~nt) through the party.

Respondent described him and Complainant as both bei ng drunk, but did Qot l(descri be what that meant." Respondent
stated that shortly after he and Complainant were ma ing out,            ey went to Complainant's sorority so she could change
since her                                                                                            oar while she changed.
Respond                                                                                               his friend's room .

Respond                                                                                                  the couch and started
                                                                                                         . Respondent stated that
he asked                                                                                                 hat at one point,
Complainant grabbed her genit                                                                            nant took off her clothes.
Respondent stated that he aske                                                                            d that she wanted to get
back at her ex-boyfriend. Re.spo                                                                          couch and he may have
digitally penetrated her Respo                                                                           they "had sex for two to
three minutes.'' Respondent st                                                                           e penetrated her from
behind." Respondent tated t a                                                                              much, but Complainant
was moaning m a w                                                                                         mant to get on top of
him.

Responde t stated that while h                                                                           om and said, "oops,
sorry," the lose the doo                                                                                 he stopped having sex
wlth ComRlamant to lock t                                                                                 g the door, Complainant
was sitting n the couch. R                                                                               om and Complainant
responde<f, " It' s whatever." Res                                                                        plainant got back on her
hands and knees, and they began having sex again.

Respondent stated that the door opened a second time and Witness 13 and Witness 3 walked in. Respondent stated
that he looked at Witness 13 and Witness 3 and said, Noh hey" while holding up a piece sign w ith his hand. Respondent
stated that Witness 13 took a picture at that moment. Respondent stated that he felt bad for him and Complainant and
they stopped having sex. Respondent stated that he and Complainant got dressed and he walked Complainant home.
Respondent stated that he saw his friend, an I                       walking Complainant home.

Respondent stated that after a couple of hour,                                  o see if she was okay. Respondent stated that he
wanted to check in on Complainant since the                                    lated. Officer Vanleeuwen showed Respondent




) Respondent did not ask for this student to be called as a witness for the OSC investigation. IUPD did interview this student and the
student stated that he never saw Respondent and Complainant together at the party on the day of the reported Incident.
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the picture IUPD had recovered. Respondent stated that the header of the picture was Witness 13's name and the
fraternity pledge class. Respondent confirmed that the picture was of him and Complainant.

               SC on June 8, 2018

              8, Respondent and his father, serving as his advisor, met with Inv. Cardosa and Inv. McDowell.

               ated that he wanted to clanfy that the reported incident did not occut in his room. Respondent stated
                ember of Sigma Nu at the time of the reported incident, but did not live in the lgma Nu fraternity house
at that time. Respondent stated that he did not allow Witness 13 to take a picture of him and Complainant. Respondent
stated that he gave a statement to OSC in September 2017 in regards to the p ct ure. Respondent stated that he has text
messages in which Complainant says she doesn't care about the picture.

When asked if he knew Complainant before the day of the rep ed incident, Respondent stated that he knew of
Complainant because they had mutual friends in common. Respondent stated that, on the day of the reported incident,
September 4, 2017, he was at Sigma Phi Epsilon. Respondent ated that Sigma Phi Epsilon is next door to Sigma Nu.
When as                         · ma Phi E silon, Re  nd nt tat d that it was around 2:30-3:00pm, but the party
                                                                                           ent stated that it was a
                                                                                            eer and wine.
                                                                                             w people were obtaining
alcohol,                                                                                    hat he went up to one of
the Sigm                                                                                    igma Phi Epsilon,
Respondent stated that there w                                                             e pool by the basketball
court. When asked if Complaina                                                             t Complainant didn't get
into the pool, but she may

Respondent stated that, at the                                                                nm Complamant's
sorority when Complainant cam                                                                 omplainant seemed very
outgoing, they w reg tti~ alo                                                                 ly remembers
Complainant      iog, ~ho shou                                                                ed that he didn't really say
anything. Respondent t"ted t                                                                  oyfriend. Respondent
stated that he and Complainant                                                                 ent stated that he and
Comp inant were holding                                                                       n asked to clarify,
Respondeni stated that Co                                                                     omplainant leading
R spondeot through the h

Whe n a5ked about his and Complainant's level of intoxication, Respondent stated that he and Complainant were
walking fine, and that there was no indication of intoxication. Respondent stated that he had five light beers over a 3-
hour time period. Respondent stated from the time Complainant came up to him until the time they parted, he did not
see her consume any alcohol. Respondent stated that he made eye contact with Witness 4 as Complainant was leading
him around the Sigma Phi Epsilon house and he and Witness 4 both "kind of shrugged.'r Respondent sta ted that Witness
4 later told him that he (Respondent) looked like he was "along for the ride." Respondent stated that at Sigma Phi
Epsilon, he and Complainant stopped by a wall                            d Complainant started kissing him. Respondent
clarified that he was leaning on the wall of the

Respondent stated that Complainant wanted t                        pa Delta, so he and Complainant walked to Kappa
Delta. Respondent stated that when Complain                         gc, he waited downstairs outside of her room.
Respondent clarified that he may have gone in                       fter she changed. When asked how long he was
at Kappa Delta with Complainant, Respondent stated about 10-15 minutes. Respondent stated that he and Complainant
then went to Sigma Nu. Respondent stated that he and Complainant went to Witness 3's room and that he and Witness
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3 are friends. Respondent ident ified Witness 3's roommates, but clarified that they were not in the room at the time.6
When asked how he and Complainant got to Witness 3's room, Respondent stated that they had to walk up a half flight
                 asked how Complainant navigated the stairs, Respondent stated that Complainant navigated the stairs
               l<ed about the layout of Witness 3's room, Respondent stated that from the point of entering the room,
                on the left to bedrooms and to the right there is a couch along the back wall facing the room and a TV.

                  hat happened when he and Complainant entered Witness 3's room, Respondent stated that he and
                  at on the couch and started kissing. Respondent stated that he doesn' remember "every minute detail''
                  ctivity. Respondent stated that he and Complainant started sexual activity nd he asked if it was okay
Nevery step of the way." Respondent stated that he values consent and he asked for con ent for "every act1 every next
step." When asked if he remembered anything about the progression t he se~ual activity, Respondent stated that,
after he and Complainant stated kissing, he was "feeling her up." W en ask to elaborate, Respondent stated that he
made contact with C-0mplamant's breasts over her clothes. Re pondent stated that he and Complainant then both took
off all of the ir clothes. Respondent stated that, when he and omplainant were both completely naked, he asked
Complainant's permission to "finger her," Complainant stated, Yes," and t hen he proceeded to ufinger her." When
asked if
he was.

When as                                                                                            at Complainant verbally
told him,                                                                                         re he and Complainant
were pos                                                                                          were on the couch,
Complainant was on her back, a                                                                    on. Respondent stated
that Complainant consented to                                                                      t position he and
Complainant were in, Responde                                                                     at he asked Complainant
if she wanted to try a differe nt                                                                 and knees and
Respondent being beh        he .

Respondent stated t t w ·1 h                                                                       e into the room.
Respondent stated that, at one                                                                       that person left.
Respondent stated th t, someti                                                                     ture. Respondent stated
that he t~ought, "O , it's my fri                                                                   sked to elaborate,
Respond t stated t at he saw                                                                      d something along the
hnes of, NHey w a sup?" a                                                                         left the room. Respondent
  ated that e saw that Wit                                                                    that entered the room,
Re ponden stated that the                                                                     uldn't remember who
they w re. When asked what happened when Witness 13 and the other individuals entered the room, Respondent
stated that he and Complainant acknowledged that there were intruders. Respondent stated he didn't know when the
picture was taken. Respondent stated that he was told later that there was a picture taken. Respondent stated that he
doesn't remember exactly when he found out that the picture was taken. When asked what position he and
Complainant were in when people came into the room, Respondent stated that every time someone came in,
Complainant was on her hands and knees and Respondent was behind her.

Respondent stated that the sexual activity sto                             plainant to her sorority, which is right next to
Sigma Nu. When asked to elaborate on how se                                spondent stated that he told Complainant, '"Hey,
let's be done." When asked about clothing bei                              ent stated that he and Complainant put on their
own clothes. Respondent stated he texted Co                                round S:SSpm, about an hour after the reported
incident. Respondent stated that he was cone                                and what had happened. Respondent stated


• There was no mention of Witness 4's roommate having any Information of the reported incident.
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that birth control was discussed. Respondent stated that he would submit the text messages between him and
Complainant. Respondent stated he saw Complainant a few weeks later at Sigma Nu and they said, "Hi" to each other.

                  rosecutor

               2018, OSC received a copy of Respondent's verbal statement to the Monroe County Prosecutor, Josh
                as taken on July 13, 2018. Respondent's attorney, Sam Shapiro, was also present.

               atement, Respondent stated that on September 4, 2017, he was at a fr ternity ~rty in the afternoon.
  espon en s ated that he was with a group of friends, but could not remem e who speclffcally he was with.
Respondent stated that Complainant came up to him and was acting Nvery f1i ."Respondent stated that It seemed like
Complainant was really outgoing and they talked for a while. Responde state that at one point, Complainant said,
,.Who am I going to fuck today?'' Respondent stated that while he and ComP-lainant were talking, they were by an
inflatable pool by the fraternity's basketball court, Responder}t a ed that a~er talking for a while, he and Complainant
went further Into the party and were located by a wall that was "a httle but away from people." Respondent stated that
he and Complainant started kissing, with Respondent's back ag st the wall and Complainant facing him.

                                                                                                could change her pants.


Complai                                                                                        Complainant took his
hand an                                                                                         '' thorough the party
and one                                                                                        d that one of his friends
saw Complainant "dragging" Re                                                                   bered making eye
contact with his friend when thi

Respondent stated that he nd                                                                   er room . Respondent
stated that Complainant chang                                                                  ay. Respondent stated
that, after Complainant c ng                                                                    mplainant talked.
Respondent stat d t t he an                                                                    ernity house, Sigma Nu.
Respondent st ated t at he and                                                                 ted that Complainant was
walking fi "and w nt p the st

Respond t stated that once he                                                                   ing in sexual activity and
started kissna.   R pondent                                                                    nd Complainant stated,
   es." When Sam asked wh                                                                      wanted anything like this
 o ever happen in his life.''                                                                   ation between him and
the          he is with. Respond                                                               d names of his past
girlfriends to show that he asks for consent during sexual activity.

Respondent stated that he and Complainant were kissing for a while and then they both took off their own clothes.
Respondent stated that he asked Complainant if it was okay if he ,.fingered" her and Complainant said, " Yes."
Respondent stated that he "fingered" Complainant. Respondent stated that he asked Complainant 1f she was sure she
wanted to have sex and Complainant said1 ''Yes:" Respondent stated that he and Complainant started engagmg in sex.
Respondent stated that originally, Complainan                            was on his front ''on her."' Respondent stated
that he and Complainant changed positions wi                            urs" and Respondent behind her.

Respondent stated that when he was being Co                           to the door. Respondent stated that he heard
someone come into the room while he and Co                              i n sexual activity. Respondent stated that he
heard, ''Oh, sorry" and looked back to see a pe                       t stated that he could not tell who the person
was. Respondent stated that there were more people at the door, but he doesn't know how many. Respondent stated
that he told the people, "Get out. What are you doing? What the hell?" Respondent stated that one of them was
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apparently t aking a picture, but he did not know that at the t ime. Respondent stated tha t around five people saw him
and Complainant engaging in sexual activity. Respondent stated that he said, .. Okay, let's be done" and he and
             " both finished ." Respondent stated that he and Complainant both put on their own clothes.

              ated that he walked Complainant back to her house. Respondent stated that afterwards, he found out
              been a picture taken of him and Complainant that was spread around through a group cha t in the
              pondent stated that he messaged Complainant and said, " Hey, we should talk about what just happened.
              hat someone took a picture?'' Respondent stated that Complainant re  nded, ''Yeah, but I don' t care. It's
              ent stated that he asked Complainant, "Are you sure?" to whic Complal an r esponded, "I don' t give a
fuck." Respondent stated that Complainant said .. Ha ha" a bunch of times and aid shewa~ " laughing her ass off."

Respondent stated that he found out that IU was investigating the pf ure. Res     ndent stated that IU brought him in for
questioning and he told them that he didn' t consent to the pict r    d did no move forward with an investigation.
Respondent stated that " the fraternity got kicked off campus.,. Respondent stated that he texted Complainant and asked
if he could use the messages exchanged between them on th day of th reported incident to show to IU as evidence
that neither one of them cared about the picture.

When Jo                                                                                         chy, including putting her
hand on                                                                                         then stated that he
presume                                                                                         e time they started
talking u                                                                                       Complainant had to
                                                                                                ondent's statement that
                                                                                                11
Complainant said, " Who am I g                                                                       0Ut of the blue" and he
thought it was aggressive. Whe                                                                  inant made that
statement, Respondent sta ed t                                                                  e trying to send signals.''
When Josh asked 1f this was a o                                                                sure it was just him and
Complainant talking at t t poi                                                                  o am I going to fuck
tonight?," Respon             t                                                                ng to his roommate about
                                                                                               lamant' s statement,
                                                                                               Respondent or 1f "she just


Wh nJosh a ed about kis ·                                                                      ant kissed by the wall.
Respondent stated that he                                                                      ds were on Complainant's
  ii?s. Whe n Josh asked if G                                                                k so. Respondent stated
ttla he w s confused on why C                                                                eded to change. When
asked what he felt leading up to the kissing, Respondent stated that he and Complainant were walking and Complainant
w as the one who initiated the kiss. Respondent stated that Complainant had the momentum of going to the w all and he
followed. When Josh asked if anyone was around him and Complainant, Respondent stated that Witness 4 saw him and
Complainant as they were leaving. Respondent stated that Witness 4 saw Complainant pulling Respondent through the
party and holding his hand. When Josh asked if Witness 4 saw the kissing, Respondent stated that he didn't know.

Josh asked about the people who were aroun                              nt went to the sorority house, Respondent
stated that he didn't really remember seeing a                         was at the party. When Josh asked why they left
the soronty house to go back to his fraternity                         more people, Respondent stated that they didn't
know there were more people there because t                              as at the party. Respondent stated that
generally, males are not supposed to go upstai                          and Complainant would have gotten in trouble if
someone found them up there. When Josh ask                            nt was walking, Respondent stated that
Complainant was walk ing and talking normally. Respondent stated that Complainant was walking upright and seemed
.. perfectly capable of walking on her own."
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When Josh asked about the alcoholic drinks Respondent saw Complainant consume, Respondent stated that he did not
see Complainant consume any alcoholic drinks. When Josh asked if Respondent has ever kissed someone who had been
                ndent stated that he had. When Josh asked about an odor or a flavor that would indicate that someone
               ing, Respondent stated that he didn't notice any in this instance. When Josh asked about Complainant
              · a boyfriend, Respondent stated that when he and Complainant were in the room, Complainant said that
               t o get back at her ex-boyfriend. Respondent stated that this seemed like Complainant's rationale to "do
              pondent stated that he didn't know if Complainant had a boyfriend or not. When Sam asked if
              It like Complainant was using him, Respondent stated (fkind of."' When Josh as    what else Complainant
said about her boyfriend, Respondent stated that Complainant said her boyf iend w s an " shole.n

When Josh asked about the person who came in and said "sorr{' when Complainant and Respondent were engaged in
sexual intercourse. Respondent stated that he remembered hearing the d rope • hearing someone say, "Sorry," and
when he turned to the door, the door was closing. When Josh       ed tf Compl<J nt gave an indication that she heard
someone come into the room, Respondent stated that he didn't remember. When asked where Complainant was at that
time, Respondent stated that Complainant was "'on all fours,"' a ing away from the door. Respondent stated that he got
up to loc
intercou                                                                                       espondent stated that
Complai                                                                                       spondent stated that he
told Com                                                                                      ocked the door. When
Josh ask                                                                                       en they Nwent on with
it."

                                                                                               that he didn' t remember
who came in, but he remem r                                                                   spondentstatedthathe
said, "Fuck off. Get out of here.'                                                              pie of seconds.
Respondent stated that ea d                                                                   stated that his reaction
was, NThis isn't working. l et's s                                                              other people came into
the room and Respo        n    I ,                                                              have any alarming
reaction. When Josh sked if thi                                                               id not know Complainant
that well. When Jos asked wh                                                                   Respondent stated that
he was t hinking, "Plea se leave.

Wh en Josh asked when Res                                                                     dent stated that he
became aw re after he had                                                                      espondent stated that
so eone told him that a pi                                                                     hose two people
scree hotted the picture and put the picture in a group chat of everyone who lived in the fraternity . When Josh asked if
Respondent recognized any specific person when they opened the door, Respondent stated that he knew the identity of
one of them because it was the person who took the picture. When Josh asked about the person taking the picture,
Respondent stated that Witness 13 took the photo. When Josh asked if Respondent knew Witness 13, Respondent
stated that he did. When Josh asked if Witness 13 was someone who Respondent would recognite by sight, Respondent
stated that he was. When Josh asked about Respondent not recognizing Witness 13 when the picture was taken,
Respondent stated that he recognized Witnes                            was taking a picture. Josh asked if Respondent
recognited the other person who was with Wi                           ted that he didn't know who it was.

When Josh asked if Respondent found out wh                               ith, Respondent stated a phone. When Josh
asked if Respondent was happy or upset about                           t stated that he was upset. When Josh asked that
when Respondent originally stated, "Fuck off,"                         his hands that formed a V, Respondent stated,
"Yes." When Josh asked further about the hand gesture, Respondent stated that it was an instinctive thing and that he
"throws up" a peace sign all the time. Respondent stated that it was a natural reaction. When Josh asked what the
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gesture meant to Respondent, Respondent stated it was llke, NHey, what's up? Go away. Screw off." Respondent stated
that gesture is not an aggressive thing or angry gesture. When Josh asked about Respondent doing the gesture and
              ndent stated at the time he thought his friends were screwing with him. Respondent stated that he didn' t
              e going to take a picture and spread it around.

              ed if there was any discussion between Respondent and Complainant about going back to the fraternity
              dent stated that he doesn't remember what specifically was said, but he remembers him and
               lking about going back there. When Josh asked if there was a reason h y went to the fraternity house,
              ated that he can't remember if anyone specifically said a reason When Jos s ed what Respondent
thought the reason was, Respondent stated that he assumed that C-0mpla1nan wanted o hook up" at the fraternity
house. When Josh asked about the walk over to the fraternity house, R pond   stated that he and Complainant
walked down the stairs of the sorority house, went out the back door, walked ne door to the fraternity house, went
through the backdoor of the fraternity house, walked up about S stairs, and t en walked in to the first room on the right.
Respondent stated that Complainant was walking upright, not stumb       & and had no trouble navigating the stairs.

                                                                 rson walks into the room and goes left, that was where
                                                                                              es Respondent stated that
                                                                                                th the couches was,
                                                                                                 m, Respondent stated,
,.No.'' W                                                                                       e people who lived in the
room. Re                                                                                         ming m was lower, since
he didn't want someone walkin                                                                   that people were still at
the party and didn't know whe                                                                   ondent stated that he
knew the code and opened tn                                                                     e door closes,
Respondent stated that he didn                                                                  still came in, so maybe
someone who knew the code u                                                                    ent stated that it had a
mechanical lock and he turned                                                                   just a keypad,
Respondent stated t at he-dldn

When Josh a~ked who lived mt                                                                   d provided their names.
When Josh asked about choosin                                                                   e party and where
Complaina t lived. R spondent                                                                   t it's a common practice.
When Josh asked where he                                                                         campus. When Josh
asked how espondent arri                                                                         an Uber or Lyft.

When Josh asked about what h                                                              ant and Respondent were
dressed, Respondent stated that he and Complainant walked out of the room, walked out the back door, walked next
door to Complainant's sorority house, and parted ways. Respondent stated that he was pretty sure he saw Witness 4 as
he and Complainant were leaving the fraternity, but he can't remember. When Josh asked 1f Respondent could estimate
time he dropped Complainant off at her sorority, Respondent stated around S:OOpm, but he wasn't sure. Respondent
stated that the first time he texted Complainant was around S:SSpm and that was within an hour of him dropping her
off.

When Josh asked when Respondent first met                              , Respondent stated around 2:30pm to 3:30pm.
When Josh asked 1f Respondent saw Complain                               beverage during that time period, Respondent
stated not that he remembered. When Josh as                            ny indicat ion that Complainant was intoxicated,
Respondent stated that he assumed Complain                              t Complainant didn' t seem like she was
incapacitated in any way or couldn't handle he                      bout Respondent assuming Complainant had
been drinking, Respondent stated that he and Complainant were at a party and that's what people do at parties in
college. When Josh asked when the party started, Respondent stated that he had "no clue," and estimated that it was
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l:OOpm. Josh remarked that people normally drink at a party, but the majority of the time Complainant was at the party
she wasn' t drinking. Respondent sta ted that he didn't know what Complainant did before she came up to him. When
                espondent would have thought that Complainant was drinking if he had met Complainant in a classroom,
                ated, NProbably not."' When Josh asked if any of Complainant's behaviors seemed Nweird 1' or out of
                ndent stated that Complainant seemed like she was okay. Respondent stated that Complainant was
                   ould handle herself.

               ed Respondent to let him know anything he remembered Complainant saying from the time he first
                her breast to the time they put their clothes back on, Respondent tated th t e remembered
Complainant moaning. Respondent stated that he didn't really say anything to Compla        t and she didn't really say
anything to him. Respondent stated that there was not a lot of verbal e chang going on. When Josh remarked that
Respondent said he asked consent before each thing and other th that, R pondent was saying there was no verbal
exchange, Respondent stated not that he could remember. Wh Josh asked about how Complainant seemed physically
and asked if she seemed involved or engaged, Respondent stated that e was doing the work" in the position that he
and Complainant were in. Respondent stated that Complainan         as up on her hands and knees as far as he could
                                                                       be about ten minutes. Respondent stated that he
couldn't

                                                                                                        ey did. Respondent
                                                                                                        ent stated that he is not
strong e                                                                                               espondent indicat ing the
change, Respondent stated that                                                                         nees and she did 1t. When
Josh asked if Complainant verba                                                                         o the position. When
Josh asked if Complainant cofta                                                                         dent stated, NNo/' Josh
asked about Complainant's face                                                                          was down a little bit, like
her neck was down. Respond                                                                             d stated that that the
position is a common way or p                                                                           tated that Complainant
Nwasn't passed out or anvMiing

When Josh a~ked who el e Resp                                                                    incident, Respondent
stated tha he talked to nis pare                                                                 bout, Respondent stated
that he tol them what he told J                                                                 ed to the detective.
Respondent stated that he                                                                         ed incident. Respondent
  ated that e also talked t                                                                       m the day. Respondent
stated that e also called                                                                        at the party. Respondent
stated hat Witness 4 told him that it looked like he was Nalong for the ride,lt referring to Complainant pulling
Respondent through the party. Respondent stated that he also asked his ex-girlfriends if they remembered him clearly
asking for consent. When Josh asked about Witness 13, Respondent stated that he hasn't talked to Witness 13. When
Josh asked with W itness 13 was in the same fraternity as Respondent, Respondent stated that he is, but he is not really
great friends with Witness 13. Respondent stated that he also talked to one of his friend's from high school that is not an
IU student. Respondent stated that he also gave Ethics (referring to OSC) a statement.

When Josh asked about a specific IU student',                                     e remembered seeing this IU student by the
back door with Witness 4. When Josh asked is                                       IU student, Respondent stated that he didn't.
When Josh asked about Witness 3, Responden                                        lked to him. When Josh asked what Respondent
thought should happen with the case, Respon                                      sit should not move forward and that he did not
intend any harm on anyone. When Sam asked                                        ided by the detective calling him, Respondent


7
    The same IU Student that is interviewed in to IUPD report, but not by OSC.
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stated that he was. Respondent stated that he received a phone call from the detective when he was in class, he listened
to the voicemail1 called the detective back, and then left class and walked directly to the IUPD station and gave a
               en Sam asked if he spoke to a lawyer or parent before making the statement, Respondent stated that he
               , but she didn't answer.




Witness 1 was interviewed on September 26, 2017 by AD Mais and AD Stelmaszczyf(.

Witness 1 stated that he knows that the meeting was requested due a ptl(>to   th~t   was in a GroupMe chat. Witness 1
stated that the photo was taken over Labor Day weekend.

Witness 1 stated that on Thursday, September 7, 2017, Complainant's s·ster, referring to Witness 11, asked him if he
was still the IFC president. Witness 1 stated that he replied tliat be was the IFC president and Witness 11 asked to speak
                                    itness 11 told him that Complainant went to a room with another guy, referring to
                                                                                                  a photo of Complainant
                                                                                                Nu. Witness 1 stated that
Witness                                                                                          1 told him that she talked
to the Si                                                                                       inant, but advised
Witness                                                                                         Spotts. Witness 1 stated
that he provided Witness 11 wit

Witness 1 stated that Witne .1                                                                  cial backlash from the
Sigma Nu Fraternity if she.:repor                                                                ant wants to maintain
her friendship with Re     ndent                                                                ness 1 stated that Witness
11 asked what would hap        if                                                               ss 11 that he was not sure
if Sigma Nu would get in troub                                                                  s possible, he did the right
thing. Witnes 1 stated that he 1                                                                 r it was posted. Witness
                                                                                                 . Witness 1 stated he did
not see th photo, and he didn'

Wi ness 1 s a    tt'tat Steve                                                                   ness 1 stated that he
  lled Complainant's sister                                                                      llow up with her after the
meeting w     AD Mais and                                                                       sources and options, and
to a    he could provide the names o

Witness 2

Witness 2 was interviewed on September 27, 2017 by AD Mais and AD Stelmaszczyk.

Witness 2 stated that he knew the meeting was in reference to a photo in a group message. Witness 2 stated that he
deleted the GroupMe chat after the picture was osted. Witness 2 stated that all members of the GroupMe were
brothers of Sigma Nu. When asked if it was a                           members, Witness 2 stated that it was
Nprobably a GroupMe of brothers who lived in                          ere missing and some didn't live in the house, N
so it was "kmd of random." When asked if he                          oupMe chat1 Witness 2 stated that he did not
recall.

Witness 2 described the photo as " two people
that there was a male and female in the photo, but their faces were not visible. Witness 2 stated that there was a couch
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in the photo that may have been brown and that the photo had been taken "close up." When asked if the female's
breast were visible in the photo, Witness 2 stated that they were not. When asked if any genitalia was visible In the
               s 2 stated that it was not. When asked if he knew who the female was in the photo, Witness 2 stated that
                ess 2 stated that he spent Na bout 5 seconds" looking at the photo, but did not see the name of the
                sent the photo. When asked if the people in the photo appeared to know it was being taken, Witness 2
               would assume they did not know the photo was being taken. Witness 2 identified Respondent as the male
                 hen asked if anyone had spoken to Respondent about the photo, Wi ness 2 stated that he had not, but
                had. Witness 2 stated that Respondent was not a member of the GroupMe that the photo was shared in.

When asked if Sigma Nu has done anything to investigate who took the photo Witness 2 stated that he did not know
who was in the photo or who took it, so a standards process wasn' t i i · ed.

Witness 2 slated that, on the day of the reported incident, Sigma N had a social vent with Sigma Phi Epsilon, Alpha
Epsilon Phi, and Alpha Xi Delta at the Sigma Phi Epsilon fratern ty holl . Witness 2 stated that the event was from
l :OOpm to 4/5:00pm.
                                                                                                                       1
Witness                                                                                          ade a dumb mistake.'

Witness

Witness

Witness                                                                                         nt, Sigma Nu. Witness 3
stated that, on the day of the re                                                               uple of hours. Witness 3
estimated that he arrived at t h                                                                 e saw Complainant or
Respondent at the party, Witne                                                                  at the party. When asked
about the pool at the p rty, W it                                                               having fun. When asked if
he consumed alcohol that day,                                                                     ring the Vodka to Sigma
Epsilon Phi. When a d if h a                                                                     itness 3 stated that he
didn't. When asked about the al                                                                 hinks there was probably
wine. When asked about them                                                                     d that he didn't know
Sigma Epsllon Phi's lcohol polic

Witn es~   3 stated that, after ·                                                               a Nu fraternity house
and he sawRespondent an                                                                       s a member of Sigma Nu,
bui did not live in the hous                                                                   ant into the room to
Nhook up.• Witness 3 stated th                                                                t were in the process of
having sex. When asked what he did when he saw Respondent and Complainant having sex, Witness 3 stated that his
clothes were wet from the pool at party so he just grabbed a change of clothes from his rom and left. Witness 3 stated
that it was awkward. Witness 3 stated that Respondent looked over his shoulder and smiled at him, but he couldn' t see
Complainant's face at the time.

When asked why Respondent went to his (Witness 3's) room, Witness 3 stated that he was pretty upset about
Respondent going into his room. Witness 3 sta                            er knew the code to get into Witness 3's room or
the room door was unlocked due to the lock b                           about Respondent's and Complainant's position
on the couch, Witness 3 stated that Complain                             nd Respondent was behind her. Witness 3 stated
that it was clear that Respondent and Complai                           hen asked to elaborate, Witness 3 clarified that it
was clear from their position that Respondent                           inant's vagina. Witness 3 stated that neither
Respondent and Complainant had clothes on an , w en         ness en ered the room, ''they pausedN and Respondent
said something like, "Sorry." Witness 3 stated that Complainant Ntried to hide herself" when he entered the room, but
Respondent was " proud" to be seen having sex and wasn't embarrassed. When asked if Complainant made any noises
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when he entered the room, Witness 3 stated that she didn't, but she seemed to be conscious. When asked to elaborate
on how Complainant seemed to be conscious, Witness 3 stated that Complainant was holding her back up and, if she
             us, she probably would have fallen.

                d that, the next day, he saw a photo of Respondent and Complainant during sexual activity. Witness 3
               couldn't see Complainant's face in the photo, but later learned that it was her. Witness 3 stated that
               d Complainant were in the same position in the photo as they wer when he walked into the room .
                d that he heard a rumor from someone in the Sigma Nu fraternity that the picture got reported to IU by
               sister, but that Complainant did not care about the picture. Wtjen asked · he ever talked to Complainant
about the specifics of what occurred, Witness 3 stated that he didn't. Witnes 3 st ted that he assumes Complainant
spoke to Witness 5, Witness 9, and Witness 10 about what occurred. W n asked 1f he spoke to Respondent about the
specifics of what occurred, Witness 3 stated that he didn't, but Re ponden cleaned his couch.

Witness 4

Witness4 was interviewed on June 14, 2018 by Inv. Cardosa and Inv. McDowell.

Witness                                                                                          Vice President of Sigma
Nu. Witn                                                                                        he was at the Sigma Nu
house a I                                                                                       s of Sigma Nu.

Witness                                                                                          tat a party. Witness 4
stated th                                                                                       itness 4 stated that he
saw Complainant leading Respo                                                                   ated that Complainant
and Respondent were holding h                                                                   he party. Witness 4 stated
that it looked like Respondent                                                                   twas trying to get away,
Witness 4 stated that it wasn't t                                                               e I am getting dragged
around the party." Witn     4s                                                                  Witness 4 stated that he
saw Respondent and Compt ma                                                                      had been at the party for
a while. Witness 4 stated tha h                                                                  ndent around the party
to other ~pie . When a ked if                                                                   t he didn' t rec.all.

                                                                                              le at the party. When
                                                                                               mbered what kind of
alcohol wa present, Witne                                                                    pondent consume
 I oho I, W tness 4 stated t                                                                 y were aware of their
sutroundings and what was goi                                                                lainant had been
consuming alcohol since there was alcohol at the party. When asked about other indicators of intoxication, Witness 4
stated that neither Complainant nor Respondent were slurring their words or having trouble walking. Witness 4 stated
that neither Respondent nor Complainant were " blacked out" and both were able to have a conversation with him.
When asked if he remembered what he talked to Respondent and Complainant about, Witness 4 stated that he didn't.
When asked when he talked to Respondent and Complainant, Witness 4 stated that Complainant was "'dragging"
Respondent around when Respondent looked at him and they talked briefly.

When asked if there was a pool at the party,                             e was a swallow long pool. Witness 4 stated that
people were standing in the pool and Jumping                             at 1t was probably wet and muddy around the
pool. When asked if he noticed either Respon                             lothes being wet, Witness 4 stated that he didn't.
When asked if he saw Complainant and Respo                               itness 4 stated that he didn 1 t. Witness 4 stated
                                                                  y a er on in the night at the Sigma Nu fraternity house.
Witness 4 clarified that, later on in the night, Complainant and Respondent were hanging out wrth separate groups of
people in the house. Witness 4 stated that both Respondent and Complainant seemed fine when he saw them. When
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asked about Respondent and Complainant's intoxication levels at this point, Witness 4 stated that it had been a while
since the party so he didn't notice anything about their intoxication levels. Witness 4 stated that he is 95% sure that he
                nt at Sigma Nu on the night of the reported incident, but he could be confusing it with another night.

               either Respondent or Complainant talked to him about what occurred on the night of the reported
               ss 4 stated that he didn' t think so.




Witness 5 was interviewed on June 14, 2018 by Inv. Cardosa and Inv. McDowell.

Witness 5 stated that, on September 4, 2017, she was at a party at s·gm Phi Epsilon. Witness 5 described the party has
having " a ton of people.'' When asked if she saw Complai nant at t  party, w ·tn   5 stated that she did at the
beginning of the party, but then didn't see Complainant again lintitshe was bade at their sorority house, Kappa Delta.
Witness 5 stated that it was "pretty normal'' for her only to see Compla nant a few times at a party. When asked if she
and Complainant went to the party together, Witness 5 stated hat they d dn' t, but Kappa Delta is right next door to
Sigma Ph.                                                                                      · ma Phi Epsilon and she


When as                                                                                          Witness S stated that she
didn't re                                                                                       t would have been in
                                                                                                 appa Delta, but she also
wasn't rooming with Complaina                                                                     mates which included
Witness 7 and Witness 8.

                                                                                                that she did. When asked
                                                                                                  as a combination of hard
alcohol, wine, and beer. When                                                                   d that she and
Complainant danced toge.ttl r a                                                                  sic is too loud. When
asked how Complal nt wa ~ da                                                                    Id." When asked to
elaborate, Witne 5 stated tha                                                                 o dance, she' ll dance.
Witness S clarified at Complai                                                                 s there to have fun .
When aske about Complainant                                                                   n' t stumbling, but she has
seen Complainant drunk be                                                                       n. When asked how she
knew Com~amant had bee                                                                         ldmg a cup and
Complain twas being lou , w                                                                    toxicated. Witness 5
stated hat, when she saw Complainant at Sigma Phi Epsilon, she didn' t feel like Complainant needed to go home at that
point. Witness S stated that there have been times when she had seen Complainant more intoxicated then she was on
September 4, 2017.

Witness 5 stated that she saw Complainant randomly throughout the party. When asked if she saw Complainant and
Respondent together at any point during the party, Witness 5 stated that she didn' t. When asked 1f she saw Respondent
at the party, Witness 5 stated that she did once or twice. When asked   if she recalled Respondent's demeanor, Witness S
stated that he seemed mtoxicated when she t                                if there was a pool at the party, Witness 5
stated that there was a kiddie pool. When ask                             r the pool, Witness 5 stated that she didn't
remember seeing Complainant stumbling arou                                 stated that she remembers seeing that
Complainant was wet. When asked to elaborat                               Complainant's shirt, which was a crop top, was
wet. Witness S stated that there was a shell of                           people were falling as they were trying to get
onto the Jet ski.
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Witness 5 stated that, later that night, she saw Complainant at Kappa Delta and Complainant was still intoxicated at this
point. Witness 5 stated that Complainant was crying and very upset. Witness S stated that Complainant told her that she
               king to Respondent and went with him to Sigma Nu because he made it sound like they were going to be
              ith other people in his fraternity . Witness 5 stated that Complainant told her that she was tired and was
               runk." Witness 5 stated that Complainant told her that she laid down on the couch because she was
               ondent tried t o Nsexually assault her." Wit ness 5 stated that based on her opinion, it was her 1mpress1on
              nt didn't know that he was Nsexually assaulting'' Complainant becau "he was really drunk too." Witness
              he doesn't think Respondent had the intention of sexually assaulting Complai n . Witness 5 stated that it
is clear from the photo taken of Complainant and Respondent that C-0mplaman •w no reciprocating." Witness 5
stated that, based on what Complainant told her, it was clear that Complainant d"dn't want to Nhook up," but
Respondent was ''still trying to push for it." Witness 5 stated that Complatnant to d her that Nit didn't feel good," that
she was tired, and that she had JUSt wanted to go to sleep. Witness 5 stated that Complainant told her that she wanted
Respondent to stop and that she told him, "No.N

Witness 5 stated that she is friends with the men in Sigma Nu       one of    em sent her the picture of Respondent and
Complai                                                                                 lainant started crying. Witness 5
                                                                                                   ss S stated that
Complai                                                                                           that, at the time,
Complai                                                                                            a Nu again. Witness 5
stated th                                                                                           that messed up and it
was wro                                                                                            e upset with Witness 13,
the person who took the photo.                                                                    xual activity was non-
consensual. Witness 5 stated t                                                                    t the president of Sigma
Nu, Witness 2, deleted the Grou                                                                   she talked to Witness 2
about the picture and Witness                                                                     ness 2 told her that 1t was
,.messed up" and they were gol

Witness 5 state tha , f\e next                                                                    ant was crying. Witness 5
stated that she called omplain                                                                    Complainant asked her to
send her t e photo. Witness 5 s                                                                   Nthey realized how
messed up it was." Witness 5 st                                                                   about the picture or the


Witness 6

Witness 6 was interviewed on June 18, 2018 by Inv. Cardosa and Inv. McDowell.

Witness 6 stated that, on the day of the reported incident, there was a party at a fraternity, but he doesn't remember
what fraternity had the party. When asked if he remembered how he got to the party, Witness 6 stated that he doesn't
remember if he walked to the party or took an Uber. When asked if the party was at a house or a bar, Witness 6 that
stated that it was not a bar and he thinks it was at an on-campus fraternity house.

Witness 6 stated that he thinks the party start                          e arrived around 4:00pm. When asked about the
atmosphere of the party, Witness 6 stated tha                            good time and people were dancing. When asked
if there was a theme at the party Witness 6 st
                                  1                                      k so. When asked if he remembered a pool at
the party, Witness 6 stated that there was a sh                          water in the pool was not even ankle-high. When
asked if he remembered if there was a jet ski a                           ted that he doesn't remember. When asked if
there was alcohol available at the party, Witne                           s. Witness 6 stated that the fraternity ,.followed
procedure" so there was no hard alcohol. When asked if he consumed alcohol on the day of the reported incident,
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Witness 6 stated that he consumed alcohol at his apartment before going to the party. When asked if any pre-gaming
occurred before the party, Witness 6 stated that he does not remember.

              he went with Respondent to the fraternity party, Witness 6 stated that he doesn't remember going to the
              pondent. Witness 6 stated that he only saw Respondent and Complainant briefly at the party when they
               him. Witness 6 stated that Complainant and Respondent were holding hands, but it was more like
               as leading Respondent by the hand. When asked to elaborate, Witn s 6 stated that Complainant was a
               front of Respondent, leading the way. When asked if he knew where Complain nt and Respondent were
               6 stated that he didn't. When asked if he observed either Respondent or Complainant having trouble
walking, Witness 6 stated that doesn't believe so, but the party was a long time ago. When asked if he talked to
Respondent about what happened on the day of the reported incident, Witnes 6 stated that he did not.

Witness 7




Witness                                                                                        omplainant during the
party tha

Witness                                                                                        ern oon and found
Complai                                                                                        had left to bring a friend
home an                                                                                        their room for more than
15 minutes before Witness 7 fo                                                                 nt was intoxicated,
Witness 7 stated that Complain                                                                  ppened, smelled like
alcohol, her speech was "all ove                                                                at Complainant's speech
and eyes may have been affect                                                                  ss 7 stated that she has
never seen Complainant at that                                                                  was Nway past her usual
drunk state." Witness 7 st t ed t

Witness 7 stated that someone                                                                   plainant and
Respondent. Witness 'l stated t                                                                to her room. Witness 7
stated tha someone also show                                                                   omplainant water,
changed er, and p her to be                                                                    ant's sister, referring to
Witness 11. w· ness 7 stat                                                                     or a little while. Witness
7 stated that, either that ni                                                                  use.

                                                                                               dent. Witness 7 stated
that Complainant had a lot of good friends in Sigma Nu, but didn't really know Respondent. When asked 1f Complainant
shared any further details with Witness 7 about what happened on the day of the reported incident, Witness 7 stated
that she didn' t. Witness 7 stated that she knows the reported incident really upset Complainant and that Complainant
wasn' t happy with what had happened. Witness 7 stated that she knew that Complainant had been thinkmg about
talking to someone .,m a position of power" about what happened.

Witness8

Witness 8 was interviewed on June 20, 2018 b                           cOowell.

Witness 8 stated that Complainant is her room                           hat, on the day of the reported incident, she saw
Complainant in their room around 5:00pm aft                             Witness 8 stated that she didn't remember if
Complainant returned to their room when she (Witness 8) was there, or 1f Complainant was already in the room when
Witness 8 walked in. Witness 8 stated that Complainant was .,out of it," sobbing, and didn't really know what was going
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on. Witness 8 stated that she and some other people stayed with Complainant and tried to help her feel better. When
asked who else was with her and Complainant, Witness 8 stated that she thinks Witness 5 was there, but she can't
                else. When asked if Complainant told Witness 8 what had happened, Witness 8 stated that Complainant
              ya lot at that time.

                she was with Complainant during the day at all, Witness 8 stated that she thinks she saw Complainant
                ay, but she didn't remember where. When asked if there was a party or an event that day, Witness 8
               .re were a lot of parties that day. When asked if she went to a party with Complajnant, Witness 8 stated
                ave gone to the party but she cannot remember for sure.

When asked about Complainant's level of intoxication when she returned to fi
reported incident, Witness 8 stated that Complainant was Nreally hammered» afld was "out of her mind. 'I When asked
about any other indications of intoxication, Witness 8 stated that Complainant is h er best friend and she knows her well
enough to know wh en she is intoxicated. Witness 8 stated that Com pl inant wasn't making any sense and was not being
her normal self. When asked if Complainant had trouble stan Ing or wa k og, Witness 8 stated that she did. Witness 8
stated that Complainant was laying on the floor in the·r room. W n asked if she remembered if Complainant's clothes
                                                                                                 mg, Witness 8 stated that
Complai                                                                                           en. When asked if
Complai                                                                                           Complainant told her
what ale

Witness                                                                                        how she found out about
the picture, Witness 8 stated th                                                                ed talking about the
picture. Witness 8 stated that                                                                 ex, she knew she had to
find Complamant. Witness 8 ~ta                                                                 tness 8 stated that, later
on when Complainant was sobe                                                                     hen asked 1f
Complainant shared an        ing I                                                              ant told her t hat she
,.didn' t want any of that to be h                                                              wanted to fall asleep and
wanted "1t" to be over. Over. W                                                                 hen she said "it," Witness
8 stated that it wa de r to her                                                                 nt having sex w ith her.
When ask d if Complainant sha                                                                  hat the reported incident
happened at Sigma Nu.

Witness 8 stated that Com                                                                      lice and provide Witness
8' name as 'a witness. Wit                                                                      as weighing on her mind
for a ong lme and she wanted

Witness 9

Witness 9 was interviewed on June 20, 2018 by Inv. Cardosa.

Witness 9 did not have any information about the reported mcident.

Witness 10

Witness 10 was interviewed on June 22, 2018                              cDowell.

Witness 10 stated that he does not know what                           out. Inv. Cardosa provided Witness 10 with the
date of the reported incident, but Witness 10                          at the investigation was in reference to. Inv.
Cardosa asked if Witness 10 remembered a party that had a jet ski, Witness 10 stated that he did. Witness 10 stated that
he knows that there was a party at Sigma Phi Epsilon where there was a Jet ski. Witness 10 stated that he thinks the
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party that he was remembering at Sigma Phi Epsilon happened around t he date of t he reported incident. When asked
what he remembered about the party, Witness 10 stated that he went to the party with a few volleyball teammates.
               hich female volleyball teammates he say at the party, Witness 10 did not identity Complainant. When
                anyone else he knew at the party, Witness 10 did not identify Complainant or Respondent.

              he was involved in any student organizations, Witness 10 stated that he was a member of Sigma Nu.
              he rec.alls if anything of concern was shared in a pledge class GroupMe, Witness 10 stated that he knows
              e was created. When asked if he knows why a new GroupMe was ere t d, Witn s 10 stated that it may
              ause of a picture. When asked if he knows what the picture was,, Witness 10 t ated that he does not.

Witness 11

Witness 11 was interviewed on June 28, 2018 by Inv. Cardosa.

Witness 11 stated that Complainant Is her sister. Witness 11 stated that, on the day of the reported incident,
Complainant texted her sometime in the evening and said that he wanted to talk. W itness 11 stated that this was
unusual                                                                                         ould tell that
Complai                                                                                         y Complainant was at,
Witness                                                                                          a Phi Epsilon. Witness
11 state                                                                                       had been crying and had
been dri                                                                                        coherent as she would
have bee                                                                                         on" and Complainant
told her that Nit wasn' t a big de                                                              id, ''Okay'' and ended the
phone call with Complainant.

Witness 11 estimated that abou
Witness 5 told her that t ere w                                                                should come over to
Kappa Delta. Witness 11 s ated                                                                  1tness 11 stated that
Witness 5 told her: th a Complai                                                               y to have sex with a male
from Sigma Nu, and w le she a                                                                   Witness 11 stated that
Witness 5 howed h r the pictu                                                                  ad been shared in Sigma
Nu's GroupMe chat,, but the pre                                                                 11 stated that
Comptaina twas a irgin b                                                                       ied that the picture had
"gotten around." Witness 1                                                                      e could tel I 1t was
Complaina since Complai

WitnesS'll stated that she went to talk to Complainant, who was sleeping. Witness 11 stated that it was hard to wake
up Complainant. Witness 11 stated that Complainant was still drunk at this point. Witness 11 stated that she could tell
that Complainant had been drinking a lot since she was still very intoxicated. Witness 11 stated that Complainant was
slurring her words, having a hard time paying attention to Witness 11, and had drowsy eyes. When asked if Complainant
shared with her how much she had to drink, Witness 11 stated that she did not. Witness 11 stated that she told
Complainant that W itness 5 had told her what had happened and that she (Witness 11) was here for her. Witness 11
stated that Complainant was trying to belittle                             was Ntotally fine." Witness 11 stated that
Complainant told her that she didn't understa                            ake the picture and that she also felt taken
                                                                          ,,
advantage of because she hadn't had sex befo

Witness 11 stated that she then went to Sigma                           sident, Witness 2. Witness 11 stated that she
told Witness 2 that she was Complainant1 s big                          know what Sigma Nu planned to do about the
situation. Witness 11 stated that Witness 2 told her that he didn't know what she was talking about. Witness 11 stated
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that she replied that she had the picture and that she knew Witness 2 knew what she was talking about. Witness 11
stated that Witness 2 said, "Oh, that." Witness 11 stated that Witness 2 was not being straightforward with her.

                   ted tnat she wanted to report but she talked to some friends who told her that it was Complainant's
                   ort or not. Witness 11 stated that she met up with Complainant about a week after the reported incident
                   nt shared how upset she was about the whole situation. Witness 11 stated that she recommended
                   ituation to Complainant. Witness 11 stated that Complainant told h r that she didn't want to lose her
                   a Nu or have the women in Kappa Delta be mad at her. When asked if Complai ant ever went into the
                   what had occurred, Witness 11 stated that she didn't.

Witness 12

Witness 12 was interviewed on July 5, 2018 by Inv. Cardosa.

Witness 12 stated that, on the day of the reported Incident, she was at a party at Sigma Phi Epsilon. When asked if she
remembered when she arrived at the party, Witness 12 stated hat she b Ii eves she got there in the early afternoon.
Witness                                                                                           ace singing and dancing
to them                                                                                            that the video was taken
at 2:18p                                                                                          s 12 stated that she would
provide I                                                                                         k in each hand while she
was danc                                                                                            her hand, Witness 12
stated th                                                                                         ess 12 stated that she 1s
not sure what kind of alcohol w                                                                    the party, Witness 12
stated that she thinks the bar w                                                                  he knew if Complainant
had any hard alcohol at th e part                                                                 aw Complainant playing
any drinking games, W•t ness 12                                                                   lgma Phi Epsilon. Witness
12 stated that Complain           ha

When asked abo          t                                                                         en party because there
were a lot of differe nt people th                                                                nd white inflatable pool
behind the r house Witness 12                                                                     med on. When asked how
tall the pool was, W i ess 12 st                                                                   as difficult. Witness 12
Sta                                                                                               eople could fit in the
pool.

                                                                                          d that she was in the pool
when omplainant got to the pool area. Witness 12 stated that she didn't watch Complainant get into the pool, but
remembers that Complainant wore her shoes mto the pool even though most people were takmg their shoes off.
Witness 12 stated t hat she could tell that Complainant had been drinking a lot and was intoxicated. Witness 12 stated
that Complainant was having trouble walking straight and was unable to focus on having a conversation. Witness 12
stated that Complainant was stumbling around the pool and fell out of the pool onto the grass at one point. Witness 12
stated that, once Complainant fell out of the pool, she stumbled away from the pool area. Witness 12 stated that this
was the last time she saw Complainant on the                               ent.

When asked if she talked to Complainant abou                               ay of the reported incident, Witness 12 stated
that Complainant didn't give her much details                              . Witness 12 stated that Complainant doesn't
like to ta lk about what occurred. Witness 12 st                           I understanding that, on the day of the reported




1
    Witness 12 provided the v deo and it is included In the case file.
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incident, Complainant went to Sigma Nu1 ended up having sex with someone she knew, and a picture was taken of her
while sexual activity was occurring. Witness 12 stated that Complainant was really upset about the whole situation.




              s interviewed on July 23, 2018 by Inv. Cardosa and Inv. McDowell.

               ted that, on the day of the reported incident, he remembers going to t he SRSC early because there was a
               Phi Epsilon later that day. Witness 13 stated that he returned to Sigma N from he SRSC around l l:OOam
and went to Witness 14 room, which was located on the 3 rd floor. Witness 13 stated that e and Witness 14 went to
Sigma Phi Epsilon around noon, and were there for a couple hours. Witness 13 t~ d h and Witness 14 came back
from Sigma Phi Epsilon and went to Witness 13's room in Sigma Nu, w hi was located on the first floor. Witness 13
stated that he and Witness 14 ordered Jimmy Johns and ate th Ood in Witne           ~' s room. Witness 13 stated that his
girlfriend came over to Sigma Nu around 3-3:30 pm.

Witness 13 stated that, after eating Jimmy Johns, he, his girlfri lid, and W tness 14 decided to go hang out in Witness
14' s roo                                                                                        m. Witness 13 stated that
he, his gi                                                                                        Student A's room to see
if he wan                                                                                        tudent A's room while his
girlfriend

Witness                                                                                         1tness 13 stated that, as
soon as Witness 14 went into St                                                                 Witness 13 stated that
he wondered what Witness 14                                                                     Respondent having sex
with a female, referring to Com                                                                Witness 14 told Witness
13 to take a picture. Witnes 13                                                                ulng to laugh. When as to
elaborate, Witness 13 tated h                                                                  king the picture. Witness
13 stated he was thinking i pul                                                                at SnapChat only allows a
                                                                                                he picture with the first
                                                                                                espondentand


When aske to elaborate on wh                                                                  was a group of about 12
of his friends fro his pied                                                                   picture and one Wetness
                                                                                                               1


15, put the picture in a Gro                                                                   the GroupMe chat about
20 inutes after Witness 1 po                                                                   tify you if someone takes
a sere nshot of your picture. Witness 13 stated that the president of Sigma Nu deleted the Group Me chat within 5
minutes of the picture being posted.

When asked to provide more information about the layout of the room, Witness 13 stated that there is a main living
area and separate sleeping areas. Witness 13 stated that Respondent and Complainant were on the couch in the middle
of the main living area. Witness 13 stated that the curtains were open, so 1t was bright in the room. Witness 13 stated
that Respondent made it seem that 1t was ok that he and Witness 14 were in the room. Witness 13 stated that neither
Respondent nor Complainant told him or Witn                             t. Witness 13 stated that he couldn' t see
             1
Complainant s face, buttocks, or private areas.                          e didn't know who Complainant was, only that
she had brown hair. When asked how he kne                                mplainant were having intercourse, Witness 13
stated that Respondent was naked on top of C                            stated that he could see the side of Complainant's
thigh and arm. Witness 13 stated that he dedu                             Complainant were having sex based on the
position that they were m.
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When asked if Complainant acknowledged him and Witness 14, Witness 13 stated that she did not. Witness 13 stated
that he was focused on Respondent and completely paying attention to Respondent. When asked if Complainant said
                ved, Witness 13 stated that Complainant did not say anything. Witness 13 stated that Complainant was
               nd knees and was adjusting her hands. When asked to elaborate on how Complainant was adjusting her
              s 13 stated that female went from resting her weigh on her hands to resting her weight on her elbows.
               Complainant appeared to be conscious, Witness 13 stated that Complainant appeared conscious. Witness
               Complainant was supporting herself with her hands. When asked if Complainant knew that he and
               re in the room, Witness 13 stated that Complainant would have known             1tness 14 were in the
room because they were laughing and Complainant would have heard Witnes 14 op n e door.

Witness 13 stated that, about two weeks after the reported incident. t presictent of Sigma Nu asked to meet with
Witness 13 and Witness 15 separately. Witness 13 stated that the,.preside t t old him that the fraternity was contacted
by the university about the picture that Witness 13 had taken. Witness 13 stetted that the president said, .,(Witness 13)
you took the picture, (Witness 15) you put it in the GroupM ~, and you need to apologize."

Witness 13 stated that, in early October 2017, he told R sponde    that he had no intention of walking in on him
(Respon                                                                                        old him that it was fine
and the                                                                                        nt told him that
Complai                                                                                         body parts. Witness 13
stated th                                                                                       as over. Witness 13
                                                                                               ant was fine, he ended up
not apologizing to her. Witness                                                                Complainant is she was
okay with what happened. Witp                                                                  cture, that it doesn' t
represent who he 1s as a person

Statement to Prosecutoc

                                                                                               County Prosecutor, Josh


Witness 1 stated th at tie work                                                                 he fratermty9 house to
start getting ready to go to the                                                                few beers leading up to
the party. W itness 13 stated tha

Witness 1 stated that the                                                                     ernity house. Witness 13
 ated that , e arrived to th                                                                  rty for about 2.5 to 3
                                                                                              ed that, after being at the
party for a couple of hours he and his friends decided that they wanted to go home and relax. Witness 13 stated that he
went back to the fraternity house 10 with his friend, Witness 14 and went to Witness 14's room on the third floor .
Witness 13 stated that he and Witness 14 were hanging out in Witness 14' s room on the couch, watching TV. Witness 13
stated that he ordered Jimmy John's. Witness 13 stated that he texted his girlfriend and asked her to come over.
Witness 13 stated that his girlfnend and one of her friends decided to come over. Witness 13 stated that Jimmy John's
and his girlfriend both arrived at the same time. Witness 13 stated that he met his girlfriend and Jimmy John's at the
door. Witness 13 stated that he talked to his gi                        nd in the formal area before going back to his
room, which was on the first floor.

Witness 13 stated that he went to his room to                           out with his girlfriend and Witness 14. Witness 13
stated that after he finishing eating his food, t                        to go back up to Witness 14's room . Witness 13


• Referring to the Sigma Nu Fraternity house.
10 Referring to the Sigma Nu Fraternity house.
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stated that they had to go down the hallway and then up the stairs to get to Witness 14's room . Witness 13 stated that
on the way to Witness 14's room was his friend Student A's room . Witness 13 stated that Witness 14 suggested Inviting
                 me with them. Witness 13 stated that as they were walking down the hallway Witness 14 opened the
                t A's room and walked in. Witness 13 stated that as soon as Witness 14 walks into Sauders room he
               ghing.NWitness 13 stated that he wanted to see what was going on so he walked into Student A's room
               spondent having sex with a girl, referring to Complainant. Witness 13 stated that this was not the
               of the room. Witness 13 stated that they were in the common room, w hich had a couch and a TV.
               ted that this is normally were he sees his friends hanging out all the tim . Witn s 13 stated that
Respondent was hvlng man off-campus apartment. Witness 13 stated that he had no ·dea t at Respondent was even
going to be there, "much less engaging in intercourse with anyone."

Witness 13 stated that he was standing there for three or four se    ds, laughing. Witness 13 stated that Respondent
turns around and starts laughing. Witness 13 stated that he didn't think he saw Complainant's face. Witness 13 stated
that he thinks Complainant was hiding her face . Witness 13 tated that he was mostly paying attention to Respondent
because he was his friend. Witness 13 stated that he was laugh· g at the ·tuation because it was so random. Witness 13
stated th                                                                                   ulsively, he took out his
phone a                                                                                          ticks his thumb up, "like
thumbs                                                                                          y and that being there
                                                                                                3 stated that he forgot
                                                                                                " or something like that.
Witness                                                                                          friends from his pledge
class. Witness 13 stated, uwith                                                                 e disappears completely
after seven seconds.,,

                                                                                                room and closed the door
                                                                                                 stated that his girlfriend
                                                                                                 itness 13 stated that
                                                                                                d to leave. Witness 13
stated that he hung out m Witn                                                                   got a notification that
two peop e had screen otted t                                                                    GroupMe that had part
of his frat rnity had been de let                                                               n posted i n the GroupMe,
bu the GroupM e was imm                                                                          in the GroupMe.
Witness 13 .stated that he

When asked what Witness                                                                            A's full name, Witness 13
provided it. When asked for his girlfriend's name, Witness 13 provided it. Witness 13 stated that his girlfriend did not
see anything happen, she just walked to Witness 14's room. When asked if he had seen Respondent at any point that
day before seeing him in Student A's room, Witness 13 stated, NNo." When asked if he saw Respondent after seeing him
in Student A's room that day, Witness 13 stated, "No." When asked if he has seen or talked to Respondent about the
incident since the incident occurred, Witness 13 stated, "No." Witness 13 stated that he was directed to not talk about
this with anyone. When asked if he had any written communication with Respondent, Witness 13 stated that he talked
to Respondent about it to apologize a month I                          hat his fraternity president sat him and the
person who allegedly put the picture in the Gr                          at they should apologize to Respondent and
Complainant for the picture. Witness 13 state                           ed Respondent to sec if he wanted to meet.
Witness 13 stated that he met with Responde                             spondent said, r•tt's no big deal.N Witness 13
stated that Respondent told him that he had t                          lainant in which she said, " Don't worry about it. I
don't even care. You can't even see my body p                           that Respondent told him that he had submitted
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those text messages to IU Student Ethics. 11 Witness 13 stated that Respondent told him that he and Complainant had
already discussed this and she said, "It doesn't matter and it's fine." Witness 13 stated that Respondent told him
               n't worry about it."'

                  ted that from that point, he didn't want to "'stir the pot"' anymore than it was, so he didn't say anything to
                  fterwards. Witness 13 clarified that other than the apology, he has not spoken to Respondent about the
                   nt. When asked if anyone contacted him to discuss the incident ot r than Respondent, Witness 13's
                   yone involved in IU discipline, Witness 13 stated his friend Witness 15 a ked him what was going on.
                  ted that he was vague w ith Witness 15 and told him there was an i vestiga ·on going on and that IU
Student Ethics might need to talk to him about it. Witness 13 stated that besides Witnes 15, no one else contacted him.

When asked how SnapChat works, specifically 1f the picture deletes off the sender's phone automatically or just the
people who receive the photo, Witness 13 stated that it deletes off of everyon 's phone. Witness 13 stated that he only
saw the picture for two seconds, sent it to a handful of people, "and en it was gone off his phone. Witness 13 stated
that it stays on the phone of people who receive the photo for about sax o seven seconds before deleting. When asked
if he used the camera function on his phone to take th               then move the picture over to SnapChat, Witness 13
stated th                                                                                       copy of the picture,
Witness

                                                                                                      ability to remember
things,                                                                                              mber minute details of
what he                                                                                              was "pretty vivid" an his
mind. When asked how much al                                                                         be three or four beers.
Witness 13 stated that he had a

When asked if it was his recolle                                                                      ted that he could fully see
Respondent's body pa , indu                                                                          t see Complainant's body
parts. When asked if 1t would b                                                                       arts were visible, Witness
13 stated that a p rso    ay be                                                                      etty much covering her
up. Witness 1 stated that he sa                                                                       ame of the person who
posted t e picture on th Grou                                                                          didn't see. When asked if
anyone told him that Witness 1                                                                         hen asked if he
        edit might have be                                                                             what was going on,
                                                                                                       in him and Witness 15 to


When asked how he got into his house, Witness 13 stated that there was a combination lock on the back door. Witness
13 stated that he was on the first floor, so he JUSt typed in the combination to enter the house. When asked how he got
into his room, Witness 13 stated his door is not locked and that nobody really locks their doors. When asked if anyone
had a door that locked, Witness 13 stated that there was one room on the third floor that had a combination lock.
Witness 13 stated that he doesn't even think they were given keys to lock their doors. When asked about a card to open
                                   1
the doors, Witness 13 stated, 'Definitely not a card. Not even a key, I think." When asked tf it was only the outside door
that had the key code, Witness 13 stated, "Yes"                            this was an environment in which people were
walking into everyone's rooms, "'even at like 3                           sked what he would do if he did want privacy,
Witness 13 sta ted that he would go mto the b                             d that there is a lock on the inside, but there is
no key to get into the room. When asked 1f th                            s 13 stated that they did. Witness 13 clarified that
the lock he was referring to was on the door le                          en asked if there were locks on the bedroom



11
     Referring to the Office or Student Conduct
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doors, Witness 13 stated that he couldn't remember. Witness 13 stated that he didn't remember having a key to his
room, but people could request keys from the house manager.

               there was a key pad or anything to get into Student A's room, Witness 13 stated, ''No.'1 Witness 13 stated
                stalled in October/November, so there is one now, but there wasn't at the time of the reported incident.
               there was a lock or anything that would have made it difficult for him to get into Student A's room,
               ted, "No." Witness 13 stated that the door was completely unlocked. When asked if he remembers if
               ses the door before Witness 13 enters the room, Witness 13 stated NNo.'' Witnes 13 stated that the door
               v open and that he could see Witness 14 laughing from where he was stanai n the hall. Witness 13
stated that he thought something funnv was going on so he went in. When asked 1f Witness 14 opened the door or if it
was already open, Witness 13 stated that he didn't know if the door wa Jightrv aJar or closed, but Witness 14 twisted
the door handle and went right in. When asked if Witness 14 at I~     push the door a little bit, Witness 13 stated that
Witness 14 did.

When asked about Complainant, Witness 13 stated that Com ainant was on her hands and knees. Witness 13 stated
that he was completely focused on Respondent and he didn't kno Complainant . Witness 13 stated that Respondent
was cove                                                                                e could hardly see
Complai                                                                                  lnant had brown hair.
Witness                                                                                  e Complainant noticed
peoplew                                                                                 ant turning her face and
putting it                                                                              ness 13 stated that he was
trymg to visualize what happen                                                          ers Complainant putting
her face into the pillow. When a                                                        ready, Witness 13 stated
that he thinks Complainant mov                                                          f, Witness 13 stated that
Complainant was on her forear                                                           on her knees. When
asked 1f Complainant s~med sl                                                           plainant had been
slumped he doesn't think e w                                                              that he remembers what
the picture looks tike. Witness 1

When asked If he would be surp                                                                   nd than what Witness 13
described, Witness 13 sta ted,•                                                                  ith his fingers. When

depends to what extent. W                                                                         s the couch, holding
herself up."' When asked if
po ition Co plainant was i .

When asked 1f he remembered hearing anythmg at that time, Witness 13 stated "No." Witness 13 stated that fraternity
house 1s always blastmg music from every room. Witness 13 stated that he didn't hear Respondent and Complamant
having sex. When asked about Witness 14's laugh, Witness 13 stated that he remembered hearing Witness 14 laugh.
Witness 13 stated that he didn't remember any specific sounds. When asked if he remembered feeling anything on his
body at that time, Witness 13 stated " No." When asked if he remembered smelling anything, Witness 13 stated, NNo."
When asked what his girlfriend was doing, Witness 13 stated that she was walking past the room . When asked if His
girlfriend came to see what was happening, W                              hen asked if His girlfriend turned around to see
what was going on, Witness 13 stated, "No.N                             ,5 girlfriend was a couple strides ahead of him.
When asked if his girlfriend had made it upstai                          tness 14 were done, Witness 13 stated that she
doesn't remember if he met his girlfriend half'\!                          room . When asked if he told his girlfriend about
what had happened, Witness 13 stated that h                             end, "I just sa w (Respondent) having sex in there.
Ha ha.'' Witness 13 stated that his girlfriend laughed and that was it.
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When asked if anyone has ever asked him to say anything different from the truth, Witness 13 stated, "No." Witness 13
stated that he has been told to tell the complete truth. When asked when he realized that people were having sex,
               ted that it was after he went into the room and saw it with his eyes. When asked if people are generally
               ock before going into one of those rooms, Witness 13 stated, " No." Witness 13 stated that if someone
               per bedroom that was a different story. Witness 13 stated that there are normally sheets covering the
                can go in there to have sex in pnvate. Witness 13 stated that they were called "shagger sheets." Witness
               if someone was bringing their girlfriend back to have sex, that perso would go in the bedroom and that's
              uld do their thing. When asked if there was a door between the bedro  and e couch area, Witness 13
confirmed that there was. When asked if there were more than one bed in each bedroom. Witness 13 confirmed that
there was.

When asked if he ever walked in on someone changing in a bedroom or co mon room, Witness 13 stated that it is a
fraternity house and people are walking around In their unde ar all the tim e, even outside in the hallway. When
asked if it would be unexpected to walk into a room and se ng someone w ith just their underwear on, Witness 13
stated that would not be unexpected. When asked if he saw R pondent or Complainant at the party, Witness 13 stated
that he d ' '

When as                                                                                        stated, "Yes." Witness 13
stated th                                                                                      he sent the SnapChat and
it wasn't                                                                                      e didn' t want to make
anyone f                                                                                       ness 13 stated that he
has. When asked about the not1                                                                  13 stated that SnapChat
tells you when that happens. W                                                                 ted that it was
irresponsible, impulsive, and so                                                               omething that he would
never do, Witness 13 stated tha                                                                . Witness 13 stated that
he was under the 1mpress1on th                                                                  nd ask why Respondent
was in the room in the first plac                                                              ble, dumb, and nobody
should be taking ·ctur of peo                                                                   as engaging him while he
was in the room. W1 ness 13 sta                                                                ed that he remembers
Respondent giving tum a t humb                                                                 d that he wasn't lookmg
at Comp ainant , whi h was ano                                                                 espondent said it was
fine and that Complainant ·




Witness 14 was interviewed on July 25, 2018 by Inv. Cardosa and Inv. McDowell.

Witness 14 stated that, on the day of the reported incident, he was at Purdue visiting a friend, and returned to IU
around 4-6 pm. Witness 14 stated that he had missed 75-80% of the party at Sigma Phi Epsilon. Witness 14 stated that
the party at Sigma Phi Epsilon had started around 1:30 or 2 pm and people had been texting Witness 14 asking if he was
going to be back in time for the party.

Witness 14 stated that, on the day of the repo                         for Student A because he was going to sell
Student A an Xbox. Witness 14 stated that he                           a Nu parking lot and went to Student A#s room .
Witness 14 stated that, when he entered Stud                           pondent in the room having sex w ith a female,
referring to Complainant. Witness 14 stated th                         espondent was in Student A's room since
Respondent did not live in the fraternity hous

When asked where Respondent and Complainant were located, Witness 14 stated that they were on the couch. Witness
14 stated that he was only able to see Respondent and he could not really see Complainant. Witness 14 stated that,
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when he walked into the room, he made eye contact with Respondent and Respondent was smiling. When asked if
Respondent or Complainant said anything when he entered the room, Witness 14 stated that they did not. When asked
                ndent or Complainant looked at him when he opened the door, Witness 14 stated that Complainant did
               ndent looked at him and smiled. Witness 14 elaborated that Complainant may have turned her head
               ed the door, but he honestly can't remember. When asked if he could tell if Complainant was c.onscious,
                ted that Complainant was in a position that she couldn't have maintained had she been passed out.
                hat position Respondent and Complainant were in, Witness 14 stated that Complainant was on her hands
                Respondent was behind her, and that they were in a NdoggystyleN pos1ti0n.

Witness 14 stated that he said to himself, "Why is this happening, right out in th e open?" Witness 14 stated that he
wondered why Respondent and Complainant weren't in the sleeping ar whe e he beds were. Witness 14 stated that
he stood for about one second and was flabbergasted . Witness 14 ated t the had taken a half-step into the room,
saw Respondent and Complainant, then turned around, left th.e room, and do~ the door. Witness 14 stated that he
was laughing in the hallway after exiting Student A:s room. Witness 14 stated that Witness 13 came up to him in the
hallway and asked why he was laughing. Witness 14 stated tha e told Witness 13 what he saw. Witness 14 stated that
Witness                             ss 14 stated that he okin                                    o look for yourself,'' but Witness
14 didn't
Witness                                                                                                lway and then Witness 14
went int

                                                                                                        nt A was really drunk and
                                                                                                       out of Student A's room .
                                                                                                        onds. When asked if he
                                                                                                       ed if there was anyone
else in the hallway when WI ne                                                                         es not remember, but he
only remembers seeingWitn                                                                               ok for Student A.

Witness 15


Witness 1S was provided with                                                                           'on. Witness 15 declined
to provide one to Inv. McOowel                                                                         email sent by Inv. cardosa
on August 13, 2018 requesting


IV.     Additional Evidenc

Text M~ssages

Respondent submitted text messages that were sent between September 4, 2017 and October 9, 2017 between him and
Complainant in which they discuss the reported incident. Complainant also submitted some of the same text messages.

Complainant submitted a text messages sent on September 4, 2017 between her and her friend. 11


Videos, Pictures, and Audio Recording

Witness 12 submitted a SnapChat video of Co                                   day of the reported incident.




u No information was provided to indicate that this friend had any additional information other than seeing the picture. Therefore,
the friend was not interviewed.
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IUPD provided OSC with the picture of sexual activity between Complainant and Respondent on the day of the reported
Incident.

                 2018, OSC received a recording of Respondent's verbal statement to the Monroe County Prosecutor from


                  19, 2018, OSC received a recording of Witness 13's verbal statement to the Monroe County Prosecutor




Witness 12 submitted her description of the SnapChat video that she at

IUPD Report: OSC received a copy of IUPD police report 181327. On May 25, 2018 Officer Garth Vanleeuwen met with
Complainant. The report contains Complainant's statement to police, Respondent's statement to police, Witness G' s
statement to police, Witness 3's statement to police, an IU student's1 tatement to police, and a description of the
picture taken of sexual activity between Complainant and Respondent.

v.
      a.

It is not i                                                                                                the Sigma Nu fraternity
house. It is not in dispute that                                                                           al penetration occurred
between Respondent and Com                                                                                ing between Respondent
and Complainant, an individual


      b.   Material Facts in Disp

                                                                                                          n without her consent
                                                                                                          in dispute whether
                                                                                                         ted and/or without her
consent.

                                                                                                         pacitated at the time of
     e sexual contact and pen                                                                            wn that Complainant was
incapad~ted,     and therefore co

It Is in dispute whether the alleged behaviors constituted sexual harassment by being unwelcome conduct of a sexual
nature that was sufficiently severe, persistent, or pervasive to create a hostile environment.

It Is in dispute whether Respondent allowed another individual to photograph or take a video of Respondent engaging in
sex.ual Intercourse with Complainant without her consent.




u Respondent did not ask for this student to be called as a witness for the OSC investigation. In his statement to IUPO, the student
stated that he never saw Respondent and Complainant together at the party on the day of the reported incident.
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    c. Applicable Policies and/or Code Sections

                 a University Sexual Misconduct Policy UA-03 and The Code of Student Rights, Responsibilities, and
                 given the nature of the allegations at hand.

                 nt engaged in behaviors toward Complainant that may constitute sexual harassment and/or sexual
                 spondent digitally penetrated Complainanrs vagina and penetrated Complainant's vagina by force,
              r consent, and/or while she was incapacitated.
             nt engaged in behaviors that may constitute sexual exploitation. espondent flowed another individual to
    photograph or take a video of Respondent engaging in sexual intercourse with Complainant without her consent.

Sexual Misconduct under the IU Sexual Misconduct Policy includes t he below definitions that are relevant to this
investigation:

    •   Sexual Assault: Sexual assault includes:
           1. Non-consensual Sexual Penetration is committed when an mdividual subjects another person to sexual

                                                                                                  the intimate area of
                                                                                                  of another person with



    •                                                                                             nature. Sexual
                                                                                                  s prohibited. Sexual
                                                                                                  her verbal, nonverbal,
                                                                                                  ualnature. Sexual

            1.                                                                                     a condition of an
                                                                                                  yment decisions or for

                                                                                                  rson's ability to
                                                                                                  employment, creating a



        Sexual Exploitatio                                                                        h or without the
        knowledge of the other                                                                    ial gain, personal benefit,
        or any other non-legitimate purpose. Examples of sexual exploitation include but are not limited to:
            •     Non-Consensual streaming, audio - or video- recording, photographing, or transmitting intimate or
                  sexual utterances, sounds, or images without consent of all parties involves;
            •     Allowing others to view sexual acts (whether m person or via a video camera or other recording device}
                  without the consent of all other parties involved;
            •     Engaging in any form of voyeurism (e.g., Hpepping" );
            •     Prostituting another mdividual
            •     Compellmg another individual                            r another person's (third party} intimate parts
                  without consent;
            •     Knowingly exposing another i                            nsmitted disease or virus without that
                  individual's knowledge; and
            •     Inducing incapacitation for the purpose of making another person vulnerable to non-consensual sexual
                  activity.
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    •   Sexual Penetration: means sexual intercourse in its ordinary meaning, cunnilingus, fellatio, anal intercourse or
                 rusion, however slight, of any part of the actor's or person's body or any object manipulated by the actor
                 e genital or anal openings of the person' s body.


                 Violence: refers to physical sexual acts perpetrated against a person's will or where a person is incapable
                 g consent due to use of drugs or alcohol, or due to an intellectual o r other disability. Sexual violence
                 s rape and sexual assault.


    •   Consent: Consent ls an agreement expressed through afflrmati" e, volun tary words or actions, and mutually
        understandable to all parties involved, to engage in a speci fic sexual act at a specific time:
            1.    Consent can be withdrawn at any t ime, as long   si   is clearly communicated.
            2.    Consent cannot be coerced or compelled by force, the t, deception or intimidation.
            3.    Consent cannot be given by someone who is incapacitated, as defined below.
            4.    Consent cannot be assumed based on ii nee, t       absence of "no" or "stop", the existence of a prior or



    •                                                                                              sistance or (b) the threat
                                                                                                   person in fear of death
                                                                                                   sonably believes that the



    •   Incapacitation: A perso                                                                    cts, nature, extent, or
        implications of the itua                                                                   nconscious, or based on
        their age (purs nt to I


                                                                                                   e known of the other
        persoo"s incapacitation.


The pec1flc portions of the Cod




H20(d): When an individual commits sexual assault as defined in the Sexual M isconduct Pohcy, UA-03, including the
following:
     1) Non-consensual Sexual Penetration, and/or
     2) Non-consensual Sexual Contact.


H28: Engaging m conduct in v1olatmn of the Sexual Misconduct Policy, UA-03 not otherwise covered in Hl through H27
of th is section.


The panel must determine whether, by a prep                                e, Respondent engaged in behaviors toward
Complainant that may constitute sexual assaul                              and/or sexual penetration w ithout her consent,
wh ile she was incapacitated, and/or by force .
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The panel must determine whether, by a preponderance of the evidence, Respondent engaged In unwelcome conduct
or behavior of a sexual nature toward Complainant that may constitute sexual harassment through the creation of


             t determine whether, by a preponderance of the evidence, Respondent engaged in behaviors toward
              at may constitute sexual exploitation, by allowing another individual to photograph or take a video of
             gaging in sexual intercourse with Complainant without her consent.




Simone Cardosa, Lead Investigator
